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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

                                          )
PRISON LEGAL NEWS                         )
                                          )
             Plaintiff,                   )
                                          )
v.                                        ) Civil Action No. 05-1812 (RBW)
                                          )
HARLEY G. LAPPIN, Director,               )
Federal Bureau of Prisons                 )
                                          )
             Defendant.                   )
__________________________________________)


      DEFENDANT’S RENEWED CROSS-MOTION FOR SUMMARY JUDGMENT
                    AND MEMORANDUM IN SUPPORT

        Defendant renews its Cross-Motion for Summary Judgment in this FOIA case in which

Defendant, Federal Bureau of Prisons (BOP) has now released 11,461 pages, of which 8,543

were released in full, in response to Plaintiff’s FOIA request below 1 :

                A copy of all documents showing all money paid by the BOP for
                lawsuits and claims against it. This is all funds paid out to
                claimants/litigants between January 1, 1996 through and including
                July 31, 2003. I am requesting a copy of the verdict, settlement or
                claim in each case showing the dollar amount paid, the identity of
                the plaintiff/claimant and the legal identifying information for each
                lawsuit or claim or attorney fee award. I am also requesting a copy
                of the complaint (if it was a lawsuit) or the claim (if it was not) in
                each incident which describes the facts underlying each lawsuit
                and claim.

        Defendant’s Second Supplemental Statement of Material Facts As to

Which There is No Genuine Issue is incorporated herein.




1
 Defendant made a subsequent release of unredacted documents on May 28, 2010. See Supplemental Declaration
of Wilson Moorer, ¶4, dated May 28, 2010.
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I. BOP has Conducted a Reasonable and Adequate Search for Documents.

           In a February 25, 2010 Order, this Court stated that the BOP’s prior declarations failed to

establish the adequacy of its search for responsive documents, in that “the declarants [fell] short

of explaining in reasonable detail, the scope and method of the search.” Order at 8. Thus, the

Court concluded that it could not determine if the search was adequate for all the individual

offices.

           In response to the Court’s February 25, 2010 Order, Defendant has requested that

declarants explain with greater detail and specificity the search herein for responsive documents.

No additional searches were conducted.

           Defendant herein submits twelve declarations setting forth a supplemental explanation for

the searches conducted by the declarants: Kimberly Blow, Administrative Technician for the

Litigation Branch of the Office of General Counsel, BOP, Washington, D.C.; Renée Brinker-

Fornshill, Assistant General Counsel for Litigation Branch of the Office of General Counsel,

BOP, Washington, D.C.; Kathleen White, Senior Equal Employment Opportunity Specialist for

the Discrimination and Ethics Branch of the Office of General Counsel, BOP, Washington, D.C.;

Deidre J. Williams, Paralegal Specialist for Labor Law Branch of the Office of General Counsel,

BOP, Washington, D.C; Cynthia Lawler, Paralegal Specialist for the Real Estate and

Environmental Law Branch of the Office of General Counsel, BOP, Washington, D.C.; Docia

M. Casillas, Supervisory Labor Management Relations Specialist for the Labor Management

Relations Section, BOP, Washington, D.C.; LeeAnn Tufte, Paralegal Specialist for the North

Central Regional Office, BOP, Kansas City, Kansas; Michael D. Tafelski, Deputy General

Counsel for the Northeast Regional Office, BOP, Philadelphia, Pennsylvania; Alecia S. Sillah,



                                                    2
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Senior Paralegal for the Mid-Atlantic Regional Office, BOP, Annapolis, Maryland; Karen

Summers, Paralegal Specialist for the South Central Regional Office, BOP, Dallas, Texas;

Christine M. Greene 2 , Paralegal Specialist for the Southeast Regional Office, BOP, Atlanta,

Georgia; Vickie Petricka, Supervisory Paralegal Specialist for the Western Regional Office,

BOP, Dublin, California.

           Defendant submits these supplemental explanations of the searches herein contain the

specificity and detail requested by the Court in its February 25, 2010 Order. Accordingly,

Defendant submits that for the reasons set forth in its previous Memoranda, which is

incorporated herein, Defendant has conducted an adequate search and all relevant responsive

documents have been produced.

II. BOP Has Justified its Freedom of Information Act Exemptions

           In its February 25, 2010 Order, this Court stated that Defendant had not justified the

FOIA exemptions that it sought to invoke in the case, and that a Vaughn Index would be helpful

in determining whether the appropriate exemptions were applied.

           In response to this Court’s Order, Defendant submits a Supplemental Declaration by

Wilson Moorer and Vaughn Index, in which Mr. Moorer sets forth the exemptions applied for

the various categories of documents. The bases for these exemptions were set forth in

Defendant’s Cross-Motion for Summary Judgment and Reply, and are incorporated herein.

           Accordingly, based on its previous Memoranda, and the attached Supplemental

Declarations and Vaughn Index, Defendant submits that it has conducted a reasonable and

adequate search for documents, that the exemptions herein were properly applied, that all

responsive documents have been provided, and summary judgment should be entered for

Defendant BOP.
2
    Ms. Greene is providing a Supplemental Declaration for the previously filed Declaration of Georgeanne Osborn.

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                                    Respectfully submitted,


                                    RONALD C. MACHEN JR.
                                    United States Attorney
                                    for the District of Columbia


                                    RUDOLPH CONTRERAS
                                    Chief, Civil Division


                                    By: ___________________________
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Of Counsel:

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Federal Bureau of Prisons




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HARLEY G. LAPPIN, Director,               )
Federal Bureau of Prisons                 )
                                          )
             Defendant.                   )
__________________________________________)


                                           ORDER

       UPON CONSIDERATION OF Defendant’s Renewed Cross-Motion for Summary

Judgment, any opposition thereto, and for good cause shown, it is hereby

       ORDERED that Defendant’s Renewed Cross-Motion for Summary Judgment is

GRANTED.


                                            _______________________________________
                                            UNITED STATES DISTRICT JUDGE

Copies:

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